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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND

DAWUD BEST,                          )
                                     )
       Plaintiff,                    )
                                     )
vs.                                  )
                                     )               CASE NO.: 8:15-cv-01141-PWG
CREDIT BUREAU OF NAPA COUNTY )
INC., et al.,                        )
                                     )
       Defendants.                   )
___________________________________ )

                              NOTICE OF SETTLEMENT

         Equifax Information Services LLC (“Equifax”) hereby notifies the Court that the

parties have settled all claims between them in this matter and are in the process of

completing the final closing documents and filing dismissal papers. Equifax requests that

the Court retain jurisdiction for any matters related to completing or enforcing the

settlement. Equifax expects the settlement process to take up to 30 days from this Notice.

         Respectfully submitted this 18th day of April, 2016.

                                              /s/ Nathan D. Adler
                                              Nathan D. Adler
                                              Bar No. 22645
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                                              LLC




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                           CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of April, 2016, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system and served a copy by U.S.

Mail to the following:

Dawud Best
5800 Carlyle Street
Cheverly, MD 20785




                                           /s/ Nathan D. Adler
                                           Nathan D. Adler




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